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                                                                                                                                                      10/01/19 2:39PM
                                                                      Document      Page 1 of 6
 Fill in this information to identify your case:
 Debtor 1               Charles Buggs
                              Full Name (First, Middle, Last)
 Debtor 2                     Sandra Buggs
 (Spouse, if filing)          Full Name (First, Middle, Last)
                                                                     NORTHERN DISTRICT OF
 United States Bankruptcy Court for the                                  MISSISSIPPI                                  Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
 Case number:                                                                                                         have been changed.
 (If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                            12/17


 Part 1:       Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                           debts must be provided for in this plan.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                           (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                           is filed. See Bankruptcy Rule 3015.

                           The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2           Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $466.00 ( monthly, semi-monthly, weekly, or                   bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                         pay direct - social security




APPENDIX D                                                                     Chapter 13 Plan                                                 Page 1
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                       Sandra Buggs

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:       Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      3.1(a)
          Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
          1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
          claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
 1     Mtg pmts to First Franklin
 Beginning February 2020              @              $286.30          Plan         Direct.     Includes escrow   Yes     No
 1     Mtg arrears to     First Franklin                               Through         January 2020                                       $1,875.86

 3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
              U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
              the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
              herein.
 Property -NONE-
           address:
 Mtg pmts to
 Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

 Property -NONE- Mtg arrears to                                                Through

 3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                     consistent with the proof of claim filed by the mortgage creditor.

 Creditor:        -NONE-                                   Approx. amt. due:                      Int.
                                                                                                  Rate*:
 Property Address:
 Principal Balance to be paid with interest at the rate above:
 (as stated in Part 2 of the Mortgage Proof of Claim Attachment)
 Portion of claim to be paid without interest: $
 (Equal to Total Debt less Principal Balance)

 Special claim for taxes/insurance: $                        -NONE- /month, beginning                 month .
 (as stated in Part 4 of the Mortgage Proof of Claim Attachment)

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                         Sandra Buggs


* Unless otherwise ordered by the court, the interest rate shall be the curent Till rate in this District
  Insert additional claims as needed.

  3.2          Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                            Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                            amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                            at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                            or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                            of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                            treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                            creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


   Name of creditor Estimated amount of                                    Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


   Fidelity
   National                                                       2002 Ford Mustang
   Loans                                   $1,297.00              120000 miles                          $2,000.00                  $1,297.00             6.75%

   Name of creditor Estimated amount of                                    Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #



   JR & Son                                                       2002 GMC Sierra
   Auto Sales                              $3,430.00              260000 miles                          $2,000.00                  $2,000.00             6.75%

  Insert additional claims as needed.

  #For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

         Name of creditor                                              Collateral                   Amount per month                      Beginning
   -NONE-                                                                                                                      month

  * Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

   For vehicles identified in § 3.2: The current mileage is


   3.3         Secured claims excluded from 11 U.S.C. § 506.

        Check one.
                            None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  3.4          Motion to avoid lien pursuant to 11 U.S.C. § 522.

  Check one.
                            None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.




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                 The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                 which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                 security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                 order confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the
                 Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the
                 judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount,
                 if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11
                 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each
                 lien.
                                                                                                                                    Lien identification
                                                                                                                                       (county, court,
                          Property subject to         Lien amount to be           Secured amount                                   judgment date, date
   Name of creditor                                                                                             Type of lien
                                   lien                     avoided                  remaining                                       of lien recording,
                                                                                                                                    county, court, book
                                                                                                                                    and page number)
 First Heritage         72" Toshiba                                 $825.00                    $00.00 Agreement                   UCC
                        TV$150, compaq
                        laptop w/ 24"
                        screen$100, 19"
                        symphonic TV$50,
                        smith & wesson
                        357 magnum
                        pistol$150,
                        winchester 22
                        rifle$125, 380
                        winchester
                        rifle$250
 First Heritage         19" sanyo TV$50,                            $660.00                    $00.00 Agreement                   UCC
                        digital camera$60,
                        19" sony TV$50,
                        42" cut john deere
                        lawn mower$200,
                        digital
                        camcorder$40, 62"
                        mcintosh TV$120,
                        31" zenith TV$80,
                        dell laptop$60

 Third Union                       65" vizio TV$100,                      $600.00               $00.00 Agreement               UCC
                                   48" RCA TV$100,
                                   30/30 winchester
                                   deer rifle$200, 12
                                   gauge marlin
                                   shotgun$200
 Tower Loan                        treadmill$60,                          $430.00               $00.00 Agreement               UCC
                                   craftsman hedge
                                   trimmer$30,
                                   troybuilt push
                                   mower$50,
                                   troybuild riding
                                   lawn mower$100,
                                   sthil weedeater$20,
                                   pouland
                                   chainsaw$10,
                                   craftsman air
                                   compressor$50,
                                   60" RCA TV$100,
                                   sony DVD
                                   player$10

Insert additional claims as needed.


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3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

                  No look fee:          3,600.00

                   Total attorney fee charged:                       $3,600.00

                   Attorney fee previously paid:                     $280.00

                   Attorney fee to be paid in plan per
                   confirmation order:                               $3,320.00

                  Hourly fee: $             . (Subject to approval of Fee Application.)

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $ 00.00.
                    % of the total amount of these claims, an estimated payment of $
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Other separately classified nonpriority unsecured claims (special claimants). Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

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                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

 7.1         Property of the estate will vest in the debtor(s) upon entry of discharge.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
                          Upon the filing of a Notice of Postpetition Mortgage Fees, Expenses, and Charges, and absent
                          any objection being filed within 30 days after the filing of said Notice, the Trustee is authorized
                          to pay the amount contained in the Notice as a special claim over the remaining plan term and
                          adjust the plan payment accordingly.
                          The claim(s) filed by Benton County Chancery Clerk/Tax Assessor, for property taxes, shall be
                          paid directly by the debtor.
 Part 9:      Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Charles Buggs                                                     X /s/ Sandra Buggs
     Charles Buggs                                                             Sandra Buggs
     Signature of Debtor 1                                                     Signature of Debtor 2

       Executed on            October 1, 2019                                        Executed on      October 1, 2019

       142 Buggs Road                                                         142 Buggs Road
       Address                                                                Address
       Michigan City MS 38647-0000                                            Michigan City MS 38647-0000
       City, State, and Zip Code                                              City, State, and Zip Code

       Telephone Number                                                       Telephone Number


 X     /s/ Jimmy E. McElroy                                                   Date     October 1, 2019
       Jimmy E. McElroy #2540
       Signature of Attorney for Debtor(s)
       3780 S. Mendenhall
       Memphis, TN 38115
       Address, City, State, and Zip Code
       901-363-7283                                                           #2540 MS
       Telephone Number                                                       MS Bar Number
       mcelroylaw@hotmail.com
       Email Address




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